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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

  SILVERTOP ASSOCIATES, INC., D/B/A
  RASTA IMPOSTA,
                                                     Civil Action No.
                                                     1:17-cv-07919-NLH-KMW
                          Plaintiff,

           vs.
                                                  MOTION DAY: JUNE 3, 2019
 KANGAROO MANUFACTURING, INC.,

                      Defendant.




  ______________________________________________________________________________

    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S EMERGENT MOTION
      FOR SANCTIONS AND TO HOLD DEFENDANT IN CIVIL CONTEMPT FOR
               VIOLATING THE PRELIMINARY INJUNCTION ORDER
  ______________________________________________________________________________




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                                  PRELIMINARY STATEMENT

           Defendant Kangaroo Manufacturing, Inc. (“Kangaroo”) and its president, Justin Ligeri,

  have violated the Court’s preliminary injunction order (“Preliminary Injunction Order”) in

  multiple ways by advertising, promoting, and selling infringing banana costumes. On May 29,

  2018, the Court issued the Opinion and Order that prohibited Kangaroo from “manufacturing,

  ordering, offering for sale, advertising, marketing, promoting, selling, and distributing Plaintiff’s

  Banana Design (and any substantially similar banana costume).” See Opinion, ECF No. 36, at 6;

  Order, ECF No. 37. Plaintiff Silvertop Associates, Inc. d/b/a Rasta Imposta (“Rasta Imposta”)

  discovered recently that Kangaroo is still advertising and promoting the infringing banana

  costumes that were the subject of the preliminary injunction motion and order (the “Infringing

  Banana”), and its President, Justin Ligeri, is selling the old inventory of infringing banana

  costumes with sunglasses sewn over the face hole (the “Infringing Banana with Sunglasses”) on

  Amazon, allegedly through his company “KBrands.”

           The Court issued a preliminary injunction after extensive briefing and two evidentiary

  hearings on this issue, preparing a lengthy opinion to accompany the order. Rasta Imposta

  posted a $100,000 security bond to maintain the injunction. The purpose of the order and bond

  was to maintain the status quo, but Kangaroo has again changed the status quo, while the

  preliminary injunction is in place. Now, Kangaroo submits that its clear violation of the

  Preliminary Injunction Order should not be addressed until after the Third Circuit Court of

  Appeals affirms or denies the underlying injunction. See Kangaroo’s April 24th Letter, ECF No.

  48, at 2. This would undermine the entire purpose of the preliminary injunction and bond, which

  was to maintain the status quo (with the bond protecting Kangaroo), while the appeal and

  litigation is pending.



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           The Court, which deposited Rasta Imposta’s bond, unquestionably has jurisdiction to

  enforce, modify and clarify the injunction. As set forth in New Jersey Sports Prods., Inc. v. Don

  King Prods., Inc., 15 F. Supp. 2d. 546 (D.N.J. 1998):

           The Court . . . retains jurisdiction to modify and clarify the existing injunction.
           The Court must be able to protect the res over which it has control even though
           [the defendant] has filed a notice of appeal. To allow a defendant to bring an
           appeal and then flout with impunity the purposes of the injunction by exploiting a
           potential ambiguity in the Order would make a mockery of the judicial process.

  Id. at 551. Federal Rule of Civil Procedure 65(d) also clarifies that the order automatically binds

  not only the parties, but also those with actual notice of the order, including “the parties’ officers,

  agents, servants, employees, and attorneys,” and “other persons who are in active concert or

  participation with [them].” Rule 65(d)(2)(B) and (C).

           In this case, Kangaroo’s actions appear to mock the judicial process. Kangaroo argues

  that the infringing costumes are now sufficiently disguised because they are being sold with

  sunglasses. Kangaroo argues that it is not violating the injunction, because although the product

  is being advertised on its website and in its catalogs, it is not being sold. Kangaroo argues that

  there is a new entity selling the product, raising the question of whether Mr. Ligeri just created a

  new entity to sell off the infringing items for the purpose of making this argument. It is

  unexplained how the infringing product was allegedly transferred from Kangaroo to KBrands,

  and why the infringing product is still being advertised by Kangaroo. This appears to be a clear

  violation of the injunction under Rule 65(d)(2)(B) and (C), which prohibits Mr. Ligeri and

  KBrands from selling product, along with Kangaroo.

           The Court granted Rasta Imposta’s request for relief due to the high likelihood of success

  on the merits and the clear showing of irreparable harm. Kangaroo, Mr. Ligeri, and K Brands (to

  the extent it exists as a separate entity) have willfully violated the Preliminary Injunction Order.

  Rasta Imposta respectfully requests that the Court hold Kangaroo and Mr. Ligeri in civil

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  contempt and issue sanctions that would make Rasta Imposta whole as a result of these

  violations of the order, including reasonable attorney’s fees and expenses.

                                               FACTS

           A.     Procedural History

           This case arose after Rasta Imposta discovered that Justin Ligeri (a former customer) had

  copied Rasta Imposta’s copyrighted banana design and was offering for sale the Infringing

  Banana costumes through his new company, Kangaroo.             See Item Nos. 10477 and 10478,

  pictured below alongside Rasta Imposta’s copyrighted design:




           Rasta Imposta filed its complaint against Kangaroo on October 5, 2017. See Complaint,

  ECF No. 1. Rasta Imposta immediately informed Kangaroo that it intended to file a motion for a

  temporary restraining order and preliminary injunction, requesting that the Court preliminarily

  enjoin Kangaroo from manufacturing, selling, distributing, offering for sale, advertising,

  marketing, and/or promoting any design confusingly or substantially similar to Rasta Imposta’s

  copyrighted costumes. See Stipulation of Standstill Period, ECF No. 7-2, at 2. The parties

  agreed to a standstill period to discuss an amicable resolution to the matter prior to December 1,


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  2017, during which time, Kangaroo’s infringement ceased and the parties discussed settlement.

  Id. The stipulation further provided that if the parties could not reach a resolution by December

  1, 2017, Rasta Imposta would file its motion for a preliminary injunction. Id. at 3. The parties

  failed to reach a resolution, and Rasta Imposta filed a Motion for a Preliminary Injunction on

  December 1, 2017. See ECF No. 10.

           After extensive briefing of the issues, and two evidentiary hearings, the Court granted

  Rasta Imposta’s Motion for a Preliminary Injunction on May 29, 2018. See Opinion, ECF No.

  36; Order, ECF No. 37. In the Opinion, Your Honor stated that the relief requested by Rasta

  Imposta in the motion for a preliminary injunction was “to maintain the status quo established by

  the October 19, 2017 Stipulation of Standstill, which provided that Kangaroo would ‘cease

  manufacturing, ordering, offering for sale, advertising, marketing, promoting, selling, and

  distributing Plaintiff’s Banana Design (and any substantially similar banana costume)…’” See

  Opinion, ECF No. 36, at 6. Your Honor granted this request for relief in granting Rasta

  Imposta’s Motion for a Preliminary Injunction. See Opinion, ECF No. 36, at 2, 28, and 34;

  Order, ECF No. 37. As required by the terms of the Preliminary Injunction Order, Rasta Imposta

  posted a $100,000 security bond with the Clerk of Court in order to maintain the injunction. See

  Clerk’s Certificate of Cash Deposit, ECF No. 43. On June 7, 2018, Kangaroo filed a Notice of

  Interlocutory Appeal to the Third Circuit as to the Opinion and Order on the Motion for

  Preliminary Injunction. See ECF No. 39.

           B.     Kangaroo Violated the Preliminary Injunction Order

           Recently, Rasta Imposta learned that Kangaroo is selling its old infringing inventory of

  banana costumes under the name “K Brand.” See Declaration of Robert Berman (“Berman

  Decl.”) at ¶ 2 at Exhibit A, and pictures below:



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           Unable to sell the costumes on Amazon due to the preliminary injunction order (which is

  being enforced by Amazon), Kangaroo appears to have sewn sunglasses on top of Kangaroo’s

  old inventory of infringing banana costumes. See id. at ¶ 3, and Exhibit A thereto.

           When confronted about this apparent contempt of the Preliminary Injunction Order on

  April 22, 2019, Kangaroo responded that “K Brands” was a separate company and therefore was

  not subject to the preliminary injunction. See Declaration of Alexis Arena (“Arena Decl.” at ¶

  3), and April 22, 2019 Email from Kangaroo’s Counsel, Exhibit A thereto. Kangaroo

  acknowledged, however, that both Kangaroo and “K Brands” are entities affiliated with Justin

  Ligeri.1 Id. Kangaroo further stated, “Kangaroo is also not selling any banana costumes.” Id.




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   This litigation arises from a personal dispute between Justin Ligeri and Rasta Imposta.
  Although discovery has not yet been taken in this case, courts in other actions have found that
  Ligeri and the company he owns, Kangaroo, are alter egos. “K Brands” may be another alter ego
  of Ligeri’s.

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           Subsequently, Rasta Imposta learned that contrary to Kangaroo’s counsel’s statements,

  the infringing “K Brands” banana costumes are being featured on Kangaroo’s website and in its

  product catalogs. See Berman Decl. ¶ 4; and Exhibit B thereto. Contrary to Kangaroo’s

  statement that it is not selling banana costumes, the infringing products are apparently being sold

  by Kangaroo. Id. at ¶ 5; and Exhibit C thereto (revealing the KBrands banana costume available

  on Amazon has a Kangaroo label sewn into the costume). In addition, Rasta Imposta learned

  that Kangaroo is still advertising the old infringing banana costumes on its website. Id. at ¶ 6,

  and Exhibit D thereto.

                                        LEGAL ARGUMENT

           A.     The District Court Retains Jurisdiction over the Existing Injunction and Has
                  Authority to Hold Kangaroo in Contempt of the Preliminary Injunction
                  Order.

           The District Court has both statutory and inherent authority to enforce the Preliminary

  Injunction Order through a contempt proceeding. A district court has the “inherent power to

  enforce compliance with its lawful orders through civil contempt.” Essex Cty. Jail Annex

  Inmates v. Treffinger, 18 F. Supp. 2d 445, 451 (D.N.J. 1998) (internal citations omitted). The

  power to hold a party in civil contempt is codified in 18 U.S.C. § 401, which provides that “A

  court of the United States shall have power to punish by fine or imprisonment, or both, at its

  discretion, such contempt of its authority, and none other, as . . . [d]isobedience or resistance to

  its lawful writ, process, order, rule, decree, or command.” See 18 U.S.C. § 401(3).

           Moreover, a district court retains authority over an existing injunction even when a party

  has appealed the order. See New Jersey Sports Prods., Inc. v. Don King Prods., Inc., 15 F. Supp.

  2d 546, 551 (D.N.J. 1998) (holding the district court retains jurisdiction over protecting,

  modifying, or enforcing an existing injunction even though a party had filed a notice of appeal);

  New Jersey v. Gloucester Envtl. Mgmt. Servs., Inc., 591 F. Supp. 2d 744, 752 (D.N.J. 2008)

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  (holding that district courts have inherent jurisdiction to protect and enforce their orders and

  judgments and citing New Jersey Sports Prods., Inc, 15 F. Supp. 2d at 550); RoadTechs, Inc. v.

  MJ Highway Tech., Ltd., 83 F.Supp.2d 677, 685 (E.D. Va. 2000) (finding that “[i]t has long been

  recognized that federal courts have inherent jurisdiction to protect and enforce their orders and

  judgments”).

           Accordingly, this Court has inherent and statutory authority to protect and enforce the

  Preliminary Injunction Order through a contempt proceeding. It is inconsequential that

  Kangaroo appealed the order because to allow a party to appeal an injunction order “and then

  flout with impunity the purposes of the injunction by exploiting a potential ambiguity in the

  Order would make a mockery of the judicial process.” See New Jersey Sports Prods., Inc, 15 F.

  Supp. 2d at 551 (internal citation omitted).

           B.     This Court Should Hold Kangaroo in Civil Contempt of the Preliminary
                  Injunction Order Because Kangaroo Knew the Injunction Had Been Issued
                  and Violated the Terms of the Injunction.

           A plaintiff moving to hold a defendant in civil contempt of an order must prove that: (1) a

  valid court order existed; (2) the defendant had knowledge of the order; and (3) the defendant

  disobeyed the order.” See John T. ex rel. Paul T. v. Delaware Cty. Intermediate Unit, 318 F.3d

  545, 552 (3d Cir. 2003) (quoting Harris v. City of Philadelphia, 47 F.3d 1342, 1326 (3d

  Cir.1995)). These three elements must be proven by “clear and convincing” evidence. Id.

                  1.      The Preliminary Injunction Opinion and Order Entered by this Court
                          Constitutes a Valid Court Order.

           On May 29, 2018, this Court granted Plaintiff’s Motion for a Preliminary Injunction

  (ECF No. 10) and entered an Opinion (ECF No. 36) and Order (ECF No. 37) on the docket on

  May 30, 2018. In the Opinion, Your Honor stated that the relief requested by Rasta Imposta in

  the Motion for a Preliminary Injunction was “to maintain the status quo established by the


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  October 19, 2017 Stipulation of Standstill, which provided that Kangaroo would ‘cease

  manufacturing, ordering, offering for sale, advertising, marketing, promoting, selling, and

  distributing Plaintiff’s Banana Design (and any substantially similar banana costume)…’” See

  Opinion, ECF No. 36, at 6. Your Honor granted this request for relief in granting Rasta

  Imposta’s Motion for a Preliminary Injunction. See Opinion, ECF No. 36, at 2, 28, and 34;

  Order, ECF No. 37, at 2. Moreover, as required by the terms of the Preliminary Injunction

  Order, Rasta Imposta posted a $100,000 security bond with the Clerk of Court in order to

  maintain the injunction. See Clerk’s Certificate of Cash Deposit, ECF No. 43. Accordingly, the

  Preliminary Injunction Order constitutes a valid order.

                  2.     Kangaroo Had Knowledge of the Preliminary Injunction Order.

           It is undisputed that Kangaroo had knowledge of the Preliminary Injunction Order. First,

  the Opinion and Order were entered on the Court’s ECF system, which automatically notifies the

  parties by e-mail. See ECF No. 36 and 37. Second, Kangaroo signed a consent order on June 7,

  2018, acknowledging that “after a hearing by the Court, by Decision and Order dated May 29,

  2018, this Court entered an Order granting a preliminary injunction in favor of the Plaintiff and

  against the Defendant.” See Consent Order for Stay Pending Appeal, ECF No. 40, at 2.

  Accordingly, Kangaroo clearly had knowledge of the Preliminary Injunction Order, and the issue

  is not in dispute. Based on the comments of Kangaroo’s counsel, it is also undisputed that Mr.

  Ligeri was aware of the order.

                  3.     Kangaroo and Mr. Ligeri Violated the Terms of the Preliminary
                         Injunction Order by Advertising, Marketing, and Promoting the
                         Infringing Banana Costumes and Selling the Infringing Banana with
                         Sunglasses on Amazon

           Kangaroo and Mr. Ligeri violated the Preliminary Injunction Order by continuing to

  advertise the Infringing Banana costumes, advertising the Infringing Banana with Sunglasses,


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  and selling the Infringing Banana with Sunglasses on Amazon, allegedly through third-party

  KBrands. Rule 65 provides that a preliminary injunction is binding on the parties as well as the

  parties’ officers, agents, servants, employees, and attorneys. See Fed. R. Civ. P. 65(d)(2). Justin

  Ligeri is the president of Kangaroo. See ECF No. 21 at ¶ 1. Ligeri is also affiliated with

  KBrands. See Arena Decl. at Ex. A. Accordingly, Justin Ligeri is prohibited from advertising,

  marketing, promoting, or selling the infringing banana costumes through either Kangaroo or

  KBrands under the terms of the Preliminary Injunction Order because he is an officer of

  Kangaroo.

           First, Kangaroo is still advertising the Infringing Banana costumes on its website. See

  Berman Decl. at Ex. D. Second, Kangaroo is advertising the Infringing Banana with Sunglasses

  on its website. See id. at Ex. B. The Preliminary Injunction Order provides that Kangaroo and

  Ligeri are prohibited from advertising, marketing, or promoting Rasta Imposta’s Banana

  Costume (and any substantially similar banana costume). See Opinion, ECF No. 36, at 6. The

  Infringing Banana with Sunglasses is the same banana costume as the two infringing costumes at

  issue in the preliminary injunction; it merely has sunglasses (and possibly yellow fabric) sewn

  over the face opening. See Berman Decl. at Ex. C.

           Third, Ligeri is selling the Infringing Banana with Sunglasses on Amazon through his

  company, KBrands. See id. at Ex. A. The Preliminary Injunction Order provides that Kangaroo

  and Ligeri are prohibited from selling, offering for sale, or distributing Plaintiff’s Banana Design

  (and any substantially similar banana costume). See Opinion, ECF No. 36, at 6; Rule

  65(d)(2)(B). Even if Ligeri were unaware that the Infringing Banana with Sunglasses is

  substantially similar to Rasta Imposta’s Banana Design, it is irrelevant because willfulness is not

  a prerequisite for contempt. See Desai v. Doctor's Assocs. Inc., No. CIV. 08-3363 (WJM), 2008



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  WL 4661625, at *3 (D.N.J. Oct. 20, 2008). Moreover, the Preliminary Injunction Order clearly

  stated that Kangaroo and Ligeri were prohibited from manufacturing, advertising, or selling any

  substantially similar banana costume, yet Mr. Ligeri felt free to brazenly slap sunglasses on top

  of the infringing costumes, and secretly sell them on Amazon through another company he is

  affiliated with, while Rasta Imposta pays interest on the injunction bond that Rasta Imposta was

  required to post to enjoin his conduct. The KBrands banana costume available for purchase on

  Amazon even has a Kangaroo label sewn into the costume. See Berman. Decl. at Exhibit C. Mr.

  Ligeri was well aware that this conduct was prohibited, and he cannot feign ignorance about the

  specifics of the Preliminary Injunction Order. See Desai, No. CIV. 08-3363 (WJM), 2008 WL

  4661625, at *3 (“This Court's order was not so vague or indefinite that a party is insulated from a

  finding of contempt due to uncertainty as to what was directed”).

           C.     Kangaroo Should Be Sanctioned and Held in Civil Contempt of the
                  Preliminary Injunction Order

           A district court has broad discretion in a civil contempt proceeding “to fashion a sanction

  that will achieve full remedial relief” for the aggrieved party. John T. ex rel. Paul T. v.

  Delaware Cty. Intermediate Unit, 318 F.3d 545, 554 (3d Cir. 2003). Sanctions for civil

  contempt serve two purposes: (1) to coerce the defendant to comply with the court’s order; and

  (2) to compensate the aggrieved party for losses sustained by disobedience of the order. See

  Robin Woods Inc. v. Woods, 28 F.3d 396, 400 (3d Cir. 1994). Therefore, a district court should

  issue compensatory awards to remedy past noncompliance and to make the aggrieved party

  whole again, including an award of reasonable attorney’s fees and expenses in having to bring

  the motion for contempt and sanctions. Id. See also Halderman v. Pennhurst State School &

  Hosp., 49 F.3d 939, 941 (3d Cir.1995) (finding the aggrieved party is entitled to be “made whole




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  for the losses it incurs as a result of the contemnors' violations, including reasonable attorneys'

  fees and expenses”).

           In this case, Kangaroo violated the Preliminary Injunction Order by advertising,

  marketing, and promoting the infringing costumes on its website. Justin Ligeri, the president of

  Kangaroo, also violated the Preliminary Injunction Order by selling the Infringing Banana with

  Sunglasses on Amazon through KBrands. In order to make Rasta Imposta whole, Rasta Imposta

  should be awarded the gross profits from all sales of the infringing banana costumes that

  Kangaroo, Justin Ligeri, or KBrands made from the date the Preliminary Injunction Order was

  entered on May 29, 2018, until present. Rasta Imposta should also be entitled to all attorney’s

  fees and reasonable expenses it incurred in investigating Kangaroo’s violation of the Preliminary

  Injunction Order, filing a letter to the Court to address the issue (ECF No. 47), and filing the

  instant Motion for Sanctions (including any future reply briefs or oral argument in connection

  with this motion).

           Since the gross profits from all sales of the infringing banana costumes are unknown at

  the present time, Rasta Imposta respectfully requests that the Court enter the proposed order

  which provides 10 days for Kangaroo to submit a certification and an accounting of all sales of

  the infringing banana costumes sold by Kangaroo, Justin Ligeri, KBrands, or any entity acting in

  concert with Justin Ligeri or Kangaroo. The proposed order also provides 10 days for Rasta

  Imposta to submit a certification of all attorney’s fees and expenses incurred in having to bring

  this Motion for Sanctions.

                                            CONCLUSION

           For the foregoing reasons, Rasta Imposta respectfully requests that this Court grant its

  Emergent Motion for Sanctions and to Hold Defendant in Civil Contempt of the Preliminary

  Injunction Order. Rasta Imposta further requests that the Court enter its proposed order to ensure

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  that Kangaroo, Ligeri, and any entity acting in concert with Ligeri or Kangaroo will continue to

  be enjoined from manufacturing, selling, distributing, offering for sale, advertising, marketing

  and/or promoting any design confusingly or substantially similar to Rasta Imposta’s Banana

  Design, specifically including the knock-off Items No. 10477 and 10478 identified in Rasta

  Imposta's Complaint, and the Infringing Banana with Sunglasses costume currently being sold on

  Amazon.



                                                       Respectfully submitted,




  Dated: April 29, 2019
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